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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF NEW YORK



ALEC FABER, individually and on behalf of all
others similarly situated; and AHNAF RAHMAN,
individually and on behalf of all others similarly
situated,                                                       No. 3:20-cv-467 (MAD/ML)

        Plaintiffs,
v.

CORNELL UNIVERSITY,

        Defendant.


                      DEFENDANT CORNELL UNIVERSITY’S
               NOTICE OF ADDITIONAL SUPPLEMENTAL AUTHORITY

       Defendant Cornell University (“Cornell”) hereby provides notice to the Court of the July

2, 2021 decision in Hewitt v. Pratt Institute, No. 20-cv-2007, 2021 WL 2779286 (E.D.N.Y. July

2, 2021), attached as Exhibit A, which rejected a breach-of-contract claim against the Pratt Institute

(“Pratt”) relating to the payment of tuition, applying New York law and applicable precedents

including this Court’s own decision. See id. at *2–4. Cornell respectfully submits that this new

decision supports Cornell’s motion for partial reconsideration (ECF No. 57-1) of the Court’s

Memorandum Decision and Order of March 3, 2021 (ECF No. 54).

       Specifically, the court in Hewitt applied New York contract law to hold that the plaintiff

students had failed to state a claim against Pratt for breach of contract with respect to tuition. That

court held that the plaintiffs had only pointed to statements that were “either too general or too

caveated to sustain a claim for breach of contract,” and further relied on Pratt’s course catalog

disclaimer providing that the school reserved “the right to periodically update and otherwise

change any material, including faculty listings, course offerings, policies, and procedures[.]” Ex.
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A at *3. Similarly, Plaintiffs in this case only point to general statements about Cornell’s

classrooms and campus in their consolidated complaint, and any course selected through Cornell’s

Courses of Study website is subject to an express disclaimer that “[c]ourse offerings are updated

throughout the year and are subject to change.” Cornell’s Mem. of Law in Supp. of Mot. to

Dismiss (“MTD”), ECF No. 38-1, at 11–14. Also relevant to Cornell’s motion to reconsider, the

court in Hewitt specifically rejected the plaintiffs’ contract theory to the extent it was grounded in

a statement by Pratt to the effect that “Pratt students work ‘inside the studio and classroom, and

out in the world,’” holding that this and related statements were “largely opinion or puffery that

[was] too vague to be enforced as a contract” and “sp[oke] in such glowing terms that students

could not reasonably rely upon them as promises of in-person instruction.” Ex. A at *3 (internal

quotation marks and alterations omitted). This purported statement by Pratt is strikingly similar

to the alleged mission statement that this Court found sufficient at this stage of the case to allow a

tuition-based breach of contract claim to proceed against Cornell, which is the subject of the

pending motion to reconsider. See Order, ECF No. 54, at 11 (allowing claim to proceed based on

statement referencing “experiences in the classroom, on campus, and beyond”); ECF No. 57-1, at

14–16.

         As such, Cornell respectfully submits this decision as yet another New York authority

supporting partial reconsideration of this Court’s decision on Cornell’s motion to dismiss and

supporting dismissal of Plaintiffs’ tuition-based breach of contract claim.



Dated: July 7, 2021                               Respectfully submitted:

                                                  /s/ Ishan K. Bhabha

                                                  Ishan K. Bhabha (pro hac vice)
                                                  Lauren J. Hartz (pro hac vice)



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                               JENNER & BLOCK LLP
                               1099 New York Avenue NW, Suite 900
                               Washington, DC 20001-4412
                               ibhabha@jenner.com
                               lhartz@jenner.com
                               Tel: 202-639-6000
                               Fax: 202-639-6066

                               Paul B. Rietema (pro hac vice)
                               JENNER & BLOCK LLP
                               353 N. Clark Street
                               Chicago, IL 60654-3456
                               prietema@jenner.com

                               Valerie Cross Dorn (No. 505158)
                               Adam G. Pence (No. 701233)
                               CORNELL UNIVERSITY
                               235 Garden Avenue, 300 CCC Building
                               Ithaca, NY 14853
                               vlc1@cornell.edu
                               apence@cornell.edu

                               Counsel for Defendant




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